Case 1:21-cv-20562-DPG Document 27 Entered on FLSD Docket 04/26/2022 Page 1 of 2




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                            CASE NO. 21-20562-CIV-GAYLES/TORRES

  JANE DOE (C.C.),

         Plaintiff,

  v.

  CARNIVAL CORPORATION,

         Defendant.
                                           /

                                      NOTICE OF SETTLEMENT

         The Plaintiff, JANE DOE (C.C.), by and through undersigned counsel, hereby notifies this

  Honorable Court that all pending claims between Plaintiff and Defendant have been settled. The

  parties respectfully request forty-five (45) days to finalize settlement documents and file their Joint

  Stipulation for Dismissal with the Court.

                                                              Respectfully submitted,

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                   L I P C O N ,    M A R G U L I E S     &   W I N K L E M A N ,   P . A .
Case 1:21-cv-20562-DPG Document 27 Entered on FLSD Docket 04/26/2022 Page 2 of 2




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 26, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record or pro se parties identified on the attached Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not authorized to

  electronically receive Notices of Electronic Filing.

                                                      By: /s/ Jacqueline Garcell
                                                          JACQUELINE GARCELL

                                         SERVICE LIST
                                   Doe (C.C.) v. Carnival Corp.
                            Case No. 21-20562-CIV-GAYLES/TORRES

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                                                      -2-
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